     Case 1:17-cr-00019-MW-GRJ       Document 34   Filed 11/09/17   Page 1 of 1


          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                      GAINESVILLE DIVISION


UNITED STATES OF AMERICA

v.                                           Case No. 1:17cr19-MW/GRJ-2

BAILEGH NOELLE COLEMAN, (2)

      Defendant.
                                 /

                    ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, ECF No. 33, to which there has been no timely objection, and subject to

this Court’s consideration of the plea agreement pursuant to Fed. R. Crim. P.

11(e)(2), the plea of guilty of the Defendant to Count Two of the Indictment

against her is hereby ACCEPTED. All parties shall appear before this court for

sentencing as directed.

      SO ORDERED on November 9, 2017.

                                       s/Mark E. Walker
                                       United States District Judge
